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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                      Case No. 18-21365-Civ-WILLIAMS/TORRES


   ST. LOUIS CONDOMINIUM
   ASSOCIATION, INC.,

         Plaintiff,

   v.

   ROCKHILL INSURANCE COMPANY,

         Defendant.

   ___________________________________________/

               ORDER ON PLAINTIFF’S MOTION TO STRIKE
        AND DAUBERT MOTION TO EXCLUDE DEFENDANT’S EXPERTS

         This matter is before the Court on St. Louis Condominium Association, Inc.’s

   motion to strike and Daubert motion to exclude Rockhill Insurance Company’s

   (“Defendant”) experts. [D.E. 116]. Defendant responded to Plaintiff’s motion on

   January 11, 2019 [D.E. 138] to which Plaintiff replied on January 18, 2019. [D.E.

   151]. Therefore, Plaintiff’s motion is now ripe for disposition. After careful review

   of the motion, response, reply, relevant authority, and for the reasons discussed

   below, Plaintiff’s motion is DENIED.1

                                   I. BACKGROUND

         Plaintiff filed this action on March 5, 2018 in Florida state court and

   Defendant removed it on April 6, 2018 based on diversity jurisdiction. This case is a


   1    On January 28, 2019, the Honorable Kathleen Williams referred Plaintiff’s
   Daubert motion to the undersigned Magistrate Judge for disposition. [D.E. 158].

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   property insurance coverage dispute pursuant to an insurance policy that

   Defendant issued to Plaintiff.       The policy relates to a property located at 800

   Claughton Island Drive, Miami, Florida 33131 (the “Property”) for the period of

   December 31, 2016 to December 31, 2017. The policy provided insurance coverage

   in the amount of twenty million dollars.         Because of Hurricane Irma, Plaintiff

   alleges that that the Property sustained significant damage and that Defendant

   failed to cover the damages as required under the policy.

                         II. APPLICABLE PRINCIPLES AND LAW

              The decision to admit or exclude expert testimony is within the trial court’s

   discretion and the court enjoys “considerable leeway” when determining the

   admissibility of this testimony. See Cook v. Sheriff of Monroe County, Fla., 402 F.3d

   1092, 1103 (11th Cir. 2005). As explained in Daubert v. Merrell Dow Pharm., Inc.,

   509 U.S. 579 (1993), the admissibility of expert testimony is governed by Fed. R.

   Evid. 702. The party offering the expert testimony carries the burden of laying the

   proper foundation for its admission, and admissibility must be shown by a

   preponderance of the evidence. See Allison v. McGhan Med. Corp., 184 F.3d 1300,

   1306 (11th Cir. 1999); see also United States v. Frazier, 387 F.3d 1244, 1260 (11th

   Cir. 2004) (“The burden of establishing qualification, reliability, and helpfulness

   rests on the proponent of the expert opinion, whether the proponent is the plaintiff

   or the defendant in a civil suit, or the government or the accused in a criminal

   case.”).




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         “Under Rule 702 and Daubert, district courts must act as ‘gate keepers’ which

   admit expert testimony only if it is both reliable and relevant.” Rink v. Cheminova,

   Inc., 400 F.3d 1286, 1291 (11th Cir. 2005) (citing Daubert, 509 U.S. at 589).2     The

   purpose of this role is “to ensure that speculative, unreliable expert testimony does

   not reach the jury.” McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253, 1256

   (11th Cir. 2002). Also, in its role as Agatekeeper,@ its duty is not Ato make ultimate

   conclusions as to the persuasiveness of the proffered evidence.@ Quiet Tech. DC-8,

   Inc. v. Hurel-Dubois UK Ltd., 326 F.3d 1333, 1341 (11th Cir. 2003)

         To facilitate this process, district courts engage in a three-part inquiry to

   determine the admissibility of expert testimony:

         (1) the expert is qualified to testify competently regarding the matters
         he intends to address; (2) the methodology by which the expert reaches
         his conclusions is sufficiently reliable as determined by the sort of
         inquiry mandated in Daubert; and (3) the testimony assists the trier of
         fact, through the application of scientific, technical, or specialized
         expertise, to understand the evidence or to determine a fact in issue.

   City of Tuscaloosa, 158 F.3d 548, 562 (11th Cir. 1998) (citations omitted).       The

   Eleventh Circuit refers to the aforementioned requirements as the “qualification,”

   “reliability,” and “helpfulness” prongs and while they “remain distinct concepts”;



   2     Rule 702 states:

         A witness who is qualified as an expert by knowledge, skill, experience,
         training, or education may testify in the form of an opinion or otherwise if: (a)
         the expert=s scientific, technical, or other specialized knowledge will help the
         trier of fact to understand the evidence or to determine a fact in issue; (b) the
         testimony is based on sufficient facts or data; (c) the testimony is the product
         of reliable principles and methods; and (d) the expert has reliably applied the
         principles and methods to the facts of the case.


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   “the courts must take care not to conflate them.” Frazier, 387 F.3d at 1260 (citing

   Quiet Tech, 326 F.3d at 1341).

         In determining the reliability of a scientific expert opinion, the Eleventh

   Circuit also considers the following factors to the extent possible:

         (1) whether the expert’s theory can be and has been tested; (2) whether
         the theory has been subjected to peer review and publication; (3) the
         known or potential rate of error of the particular scientific technique;
         and (4) whether the technique is generally accepted in the scientific
         community. Notably, however, these factors do not exhaust the
         universe of considerations that may bear on the reliability of a given
         expert opinion, and a federal court should consider any additional
         factors that may advance its Rule 702 analysis.

   Quiet Tech, 326 F.3d at 1341 (citations omitted). The aforementioned factors are

   not “a definitive checklist or test,” Daubert, 509 U.S. at 593, but are “applied in

   case-specific evidentiary circumstances,” United States v. Brown, 415 F.3d 1257,

   1266 (11th Cir. 2005). While this inquiry is flexible, the Court must focus “solely on

   principles and methodology, not on conclusions that they generate.” Daubert, 509

   U.S. at 594-95. It is also important to note that a “district court’s gatekeeper role

   under Daubert ‘is not intended to supplant the adversary system or the role of the

   jury.’” Quiet Tech, 326 F.3d at 1341 (quoting Maiz v. Virani, 253 F.3d 641, 666

   (11th Cir. 2001)). Rather, “[v]igorous cross-examination, presentation of contrary

   evidence, and careful instruction on the burden of proof are the traditional and

   appropriate means of attacking but admissible evidence.” Daubert, 509 U.S. at 580;

   see also Chapman v. Procter & Gamble Distrib., LLC, 766 F.3d 1296, 1306 (11th Cir.

   2014) (“As gatekeeper for the expert evidence presented to the jury, the judge ‘must

   do a preliminary assessment of whether the reasoning or methodology underlying


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   the testimony is scientifically valid and of whether that reasoning or methodology

   properly can be applied to the facts in issue.’”) (quoting Kilpatrick v. Breg, Inc., 613

   F.3d 1329, 1335 (11th Cir. 2010)).

         “[T]he objective of [the gatekeeping role] is to ensure the reliability and

   relevancy of expert testimony. It is to make certain that an expert, whether basing

   testimony upon professional studies or personal experience, employs in the

   courtroom the same level of intellectual rigor that characterizes the practice of an

   expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152

   (1999). The district court’s role is especially significant since the expert’s opinion

   “can be both powerful and quite misleading because of the difficulty in evaluating

   it.” Daubert, 509 U.S. at 595 (quoting Jack B. Weinstein, Rule 702 of the Federal

   Rules of Evidence is Sound; It Should Not Be Amended, 138 F.R.D. 631, 632 (1991)).

                                     III. ANALYSIS

         Plaintiff’s motion seeks to exclude five of Defendant’s experts, including Bert

   Davis, (“Mr. Davis”), Brian Warner (“Mr. Warner”), Paul Millard (“Mr. Millard”),

   Janine Pardee (“Ms. Pardee”), and Irving Oppenheim (“Mr. Oppenheim”). Plaintiff

   argues that Mr. Davis and Mr. Warner must be excluded because they reached their

   conclusions without performing a single test that enables them to provide a reliable

   opinion. Instead, Plaintiff asserts that Mr. Davis and Mr. Warner simply concluded

   that they did not observe any damage to the building. Plaintiff also seeks to exclude

   Mr. Millard, Ms. Pardee, and Mr. Oppenheim because they failed to comply with the

   Federal Rules of Civil Procedure.        Neither Ms. Pardee nor Mr. Oppenheim



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   purportedly submitted a signed expert report and Plaintiff alleges that Mr. Millard

   failed to submit a complete report. Defendant contends, on the other hand, that

   Plaintiff’s motion fails for a variety of reasons.     We will consider the parties’

   arguments in turn.

         A.     Whether Mr. Davis Should be Excluded

         First, Plaintiff seeks to exclude Mr. Davis because he is unqualified to testify

   as to causation. Defendant requested Mr. Davis to determine whether wind speeds

   damaged the roof system, windows, and doors of the condominium. Plaintiff argues,

   however, that there is nothing in Mr. Davis’ areas of specialization 3 that qualifies

   him to opine on causation. Plaintiff also contends that, even if Mr. Davis appears

   qualified on paper as a specialist in “failure analysis” and “moisture intrusion,” Mr.

   Davis did not perform a single test to support his opinions. Therefore, Plaintiff

   concludes that Mr. Davis is unqualified because he cannot testify competently on

   the matters he is expected to address at trial.

         An expert may be qualified to testify in multiple ways: ‘”by knowledge, skill,

   experience, training, or education’” and “not necessarily unqualified simply because

   her experience does not precisely match the matter at hand.” Furmanite Am., Inc.

   v. T.D. Williamson, Inc., 506 F. Supp. 2d 1126, 1129 (M.D. Fla. 2007) (citing Maiz,

   253 F.3d at 665, 669). “Determining whether a witness is qualified to testify as an

   expert ‘requires the trial court to examine the credentials of the proposed expert in

   3      Mr. Davis’ areas of specialization include failure analysis, indoor air quality,
   moisture intrusion, construction and industrial accidents, slip and fall accidents,
   ventilation and air conditioning systems, life safety systems, plumbing systems, fire
   protection systems, electrical systems, lighting systems, construction claims,
   explosions, building fires, and code compliance.

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   light of the subject matter of the proposed testimony.’” Clena Investments, Inc. v.

   XL Specialty Ins. Co., 280 F.R.D. 653, 661 (S.D. Fla. 2012) (quoting Jack v. Glaxo

   Wellcome, Inc., 239 F. Supp. 2d 1308, 1314–16 (N.D. Ga. 2002)). “In other words, a

   district court must consider whether an expert is qualified to testify competently

   regarding the matters he intends to address.” Clena Investments, Inc., 280 F.R.D.

   at 661 (citing City of Tuscaloosa, 158 F.3d at 562–63).

         Determining an expert’s qualifications is not a stringent inquiry “and so long

   as the expert is minimally qualified, objections to the level of the expert’s expertise

   [go] to credibility and weight, not admissibility.” Vision I Homeowners Ass’n, Inc. v.

   Aspen Specialty Ins. Co., 674 F. Supp. 2d 1321, 1325 (S.D. Fla. 2009) (citations

   omitted); see also Johnson v. Big Lots Stores, Inc., 2008 WL 1930681, *14 (E.D .La.

   Apr. 29, 2008) (summarizing Rushing v. Kansas City S. Ry. Co., 185 F.3d 496, 507

   n. 10 (5th Cir. 1999), as “explaining that after an individual satisfies the relatively

   low threshold for qualification, the depth of one’s qualification may be the subject of

   vigorous cross-examination”); see also Martinez v. Altec Indus., Inc., 2005 WL

   1862677, *3 (M.D. Fla. Aug. 3, 2005) (quoting Rushing, 185 F.3d at 507 (“As long as

   some reasonable indication of qualifications is adduced . . . qualifications become an

   issue for the trier of fact rather than for the court in its gate-keeping capacity”)).

   After a review of the relevant issues and an expert’s qualifications, “the

   determination regarding qualification to testify rests within the district court’s

   discretion.” Clena Investments, Inc., 280 F.R.D. at 661 (citing Berdeaux v. Gamble

   Alden Life Ins. Co., 528 F.2d 987, 990 (5th Cir. 1976) (footnote omitted)).



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         Applying these principles, we are unconvinced that Mr. Davis is unqualified

   to serve as an expert in this case because he has (1) multiple engineering licenses,

   (2) a bachelors degree in mechanical engineering, (3) a masters’ degree in civil

   engineering, (4) experience in structural, mechanical, and electrical engineering,

   and (5) a specialty in residential buildings with moisture damage. If one couples

   Mr. Davis’ experience with the fact that courts routinely allow civil engineers to

   opine on causation and the extent of property damage due to hurricanes, Plaintiff’s

   motion to exclude Mr. Davis as unqualified is DENIED. See Clena Investments,

   Inc. v. XL Specialty Ins. Co., 280 F.R.D. 653, 661–62 (S.D. Fla. 2012) (“This is not

   surprising, as assessing structure-related damages to a building would seem to be a

   natural fit with the training and experience that a professional civil engineer has.”)

   (citing Broussard v. State Farm Fire & Cas., 523 F.3d 618, 631 (5th Cir. 2008)

   (affirming district court'’ ruling allowing structural engineer to testify that storm

   surge and not hurricane-force winds caused damage); see also Traveler Indem. Co. of

   Conn. v. Centimark Corp., 2010 WL 3431159, *2 (S.D. Fla. Aug. 30, 2010) (finding

   licensed engineer qualified to provide expert opinion that installation of roofing

   system was faulty).

         Next, Plaintiff seeks to exclude Mr. Davis because his report (the “Davis

   Report”) provides no reliable methodology to determine if wind speeds damaged the

   condominium. Plaintiff claims that Mr. Davis simply performed visual inspections

   of the property and noted areas that he deemed damages.              Mr. Davis then

   purportedly failed to perform any testing of the roof system, windows, and doors.



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   And making matters worse, Plaintiff alleges that the conclusions in the Davis

   Report are hopelessly contradictory. Therefore, Plaintiff concludes that Mr. Davis

   should be excluded because his opinions are based entirely on speculation.

          “The reliability standard is established by Rule 702’s requirement that an

   expert’s testimony pertain to ‘scientific . . . knowledge,’ since the adjective ‘scientific’

   implies a grounding in science’s methods and procedures, while the word

   ‘knowledge’ connotes a body of known facts or of ideas inferred from such facts or

   accepted as true on good grounds.”        Daubert, 509 U.S. at 580.       This entails an

   assessment of whether the “methodology underlying the testimony is scientifically

   valid.” Id. at 592. The four non-exhaustive factors used to evaluate the reliability

   of a scientific expert opinion include the following:

          (1) whether the expert’s theory can be and has been tested; (2) whether
          the theory has been subjected to peer review and publication; (3) the
          known or potential rate of error of the particular scientific technique;
          and (4) whether the technique is generally accepted in the scientific
          community.

   Frazier, 387 F.3d at 1262 (citations omitted).

          Plaintiffs objects to the methodology that Mr. Davis used in determining

   whether Hurricane Irma caused the damage to the condominium. But, Plaintiff’s

   contention is unpersuasive because Mr. Davis (1) reviewed meteorological data, (2)

   made a visual inspection of the building, and (3) inspected the units where water

   damage was present. Mr. Davis also conducted measurements, opened sliding glass

   doors and windows, observed physical evidence, consulted public records, and relied

   on his thirty years of experience. While Plaintiff disagrees with the methodology



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    used, “the issue for a Daubert methodology challenge is not what it was possible for

    an expert to do, but rather what it was reasonably necessary for an expert to do in

    order for his opinions to be reliable.” Travelers Prop. Cas. Co. of Am. v. All-S.

    Subcontractors, Inc., 2018 WL 1787884, at *7 (S.D. Ala. Apr. 13, 2018).

          We therefore agree with other courts that have considered this issue in that

    “an engineer’s use of techniques of visual inspection, code review, and reliance on

    experience and expertise can satisfy the Daubert reliability prong.”           Clena

    Investments, Inc. v. XL Specialty Ins. Co., 280 F.R.D. 653, 664 (S.D. Fla.

    2012) (finding that a structural engineer's “experience as an engineer and his visual

    inspection of the Property . . . lay a permissible foundation” for his opinions as to

    causation of roof damage).4   Plaintiff essentially invites the Court to weigh the

    evidence presented, but “it is not the role of the district court to make ultimate

    conclusions as to the persuasiveness of the proffered evidence;” rather, “[v]igorous

    cross-examination, presentation of contrary evidence, and careful instruction on the

    burden of proof are the traditional and appropriate means of attacking shaky but

    4      See also Kirksey v. Schindler Elevator Corp., 2016 WL 5213928, *11 (S.D.
    Ala. Sept. 21, 2016) (finding no Daubert problem with industrial engineer’s
    methodology in visually inspecting escalator guardrail without performing testing
    or analysis of its structural strength); Nicholson v. Pickett, 2016 WL 854370, *9-11
    (M.D. Ala. Mar. 4, 2016) (finding expert’s methodology sufficiently reliable, despite
    lack of testing, where expert visually inspected vehicle, reviewed depositions, films
    and reports, and relied on his experience in the industry); Holman v. State Farm
    Fire and Cas. Co., 2015 WL 12803770, *7 (N.D. Ala. Jan. 12, 2015) (finding that an
    expert’s “methodology is sufficiently reliable” when it is based on “first-hand
    inspection” of a house and applied “knowledge and experience of structural
    engineering to reach his conclusion” as to cause of cracks in basement
    wall); Sparger v. Newmar Corp., 2014 WL 3928556, *5 (S.D. Fla. Aug. 12,
    2014) (“visual inspection of an engine may be an acceptable way of identifying an
    engine defect for purposes of evaluating admissibility of expert testimony,” even
    where expert did not perform any “intrusive diagnostic procedure”);

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    admissible evidence.” Quiet Tech, 326 F.3d at 1341 (citation omitted).; see also

    Hemmings v. Tidyman's Inc., 285 F.3d 1174, 1188 (9th Cir. 2002) (“Vigorous cross-

    examination of a study's inadequacies allows the jury to appropriately weigh the

    alleged defects and reduces the possibility of prejudice.”); Cummings v. Standard

    Register Co., 265 F.3d 56, 65 (1st Cir. 2002) (holding that “whatever shortcomings

    existed in [the expert's] calculations went to the weight, not the admissibility, of the

    testimony”). Therefore, Plaintiff’s motion to exclude Mr. Davis and his opinions is

    DENIED because Plaintiff’s objections go to the weight, rather than the

    admissibility, of Mr. Davis’ opinions.

          Plaintiff’s final argument to exclude Mr. Davis is that his testimony will not

    assist the trier of fact because his opinions do nothing to understand the issues

    presented in this case – whether Hurricane Irma caused the building, windows, and

    door systems to fail. Plaintiff claims, for example, that Mr. Davis made no inquiry

    into how water entered the interior of the condominium and that he merely relied

    on a visual inspection that the building did not look damaged. Because Mr. Davis

    has no helpful testimony as to whether Hurricane Irma compromised the building,

    window, and/or door systems, Plaintiff concludes that any evidence, opinion, or

    testimony related to Mr. Davis should be excluded.

          Expert testimony is helpful to the trier of fact only “if it concerns matters

    that are beyond the understanding of the average lay person.” Frazier, 387 F.3d at

    1262; see also King v. Cessna Aircraft Co., 2010 WL 1980861, *5 (S.D. Fla. May 18,

    2010). In other words, “[p]roffered expert testimony generally will not help the trier



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    of fact when it offers nothing more than what lawyers for the parties can argue in

    closing arguments.” Id. at 1262–63 (citing 4 Weinstein's Fed. Evid. § 702.03[2][a] ).

    Moreover, where an expert opinion has a tendency to confuse the trier of fact, it may

    not satisfy the helpfulness prong.       See Frazier, 387 F.3d at 1258.          Finally,

    “[b]ecause of the powerful and potentially misleading effect of expert evidence,”

    judges must take care not to allow misleading and prejudicial opinions to influence

    the finder of fact. See id. at 1263; see also Cook ex rel. Estate of Tessier v. Sheriff of

    Monroe Cty., 402 F.3d 1092, 1111 (11th Cir. 2005) (citing Frazier, 387 F.3d at 1263).

          Here, Mr. Davis meets the helpfulness prong under Daubert because his

    experience and visual inspections of the condominium will inform the trier of fact as

    to the potential causes for the damages to the condominium. Plaintiff, of course,

    disagrees because Mr. Davis failed to conduct specifics tests that may have better

    informed his opinions.       But, Plaintiff’s argument does not undermine the

    helpfulness of Mr. Davis nor does it belittle his opinions to that of an average

    layperson. This means that – while Mr. Davis’ opinions may contain certain defects

    – they do not rise to the level of being unhelpful and therefore Plaintiff’s motion to

    strike Mr. Davis is DENIED.

          B.     Whether Mr. Warner Should be Excluded

          The second issue is whether Mr. Warner should be excluded as unreliable

    and unhelpful to the trier of fact.5    Plaintiff argues that Defendant retained Mr.


    5     While Plaintiff’s motion to exclude Mr. Warner under Daubert lacks merit,
    Mr. Warner may not serve as an expert in this case because Defendant violated the
    Court’s Scheduling Order as set forth in the Court’s Order granting in part and
    denying in part Plaintiff’s motion to strike Defendant’s experts.

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    Warner to determine if there was any wind damage to window openings, sliding

    glass doors, and the storefront/curtain wall at the elevator lobby. But, Plaintiff

    claims that Mr. Warner’s report is unreliable because it is merely a field

    observation that lacks a single test to determine if water intruded the

    condominium.    Plaintiff also takes issue, for example, with Mr. Warner’s visual

    inspections and his related opinions because they are conclusions with no reliable

    methodology. Making matters worse, Plaintiff points out that neither Mr. Warner’s

    report nor the record presented provide a factual basis to conclude that the observed

    damages existed at the condominium before the hurricane.

          In addition to an unreliable methodology, Plaintiff argues that Mr. Warner’s

    testimony will not assist the trier of fact because the report includes nothing more

    than factual and legal conclusions that lawyers present in closing arguments.

    Plaintiff suggests that Mr. Warner’s testimony has the potential to confuse and

    mislead the jury because it has no bearing on the state of the condominium prior to

    Hurricane Irma.     Plaintiff therefore concludes that any evidence, opinion, or

    testimony of Mr. Warner should be excluded.

          Plaintiff’s arguments fail for many of the same reasons set forth above

    because Mr. Warner took a similar approach as Mr. Davis in determining whether

    the damages at the condominium were hurricane-related. For example, Mr. Warner

    reviewed the documents of record and personally inspected many of the sliding

    glass doors and windows at the condominium. While Mr. Warner did not conduct

    any scientific tests of the building, any potential flaws in his report go to the weight



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    of his opinions as opposed to their admissibility.   And “[t]he identification of such

    flaws . . . is precisely the role of cross-examination.” Quiet Tech, 326 F.3d at 1345

    (citing Daubert, 509 U.S. at 596 (“Vigorous cross-examination, presentation of

    contrary evidence, and careful instruction on the burden of proof are the traditional

    and appropriate means of attacking shaky but admissible evidence.”)). Plaintiff’s

    argument as to Mr. Warner’s helpfulness are also unconvincing because his report

    includes his observations – as opposed to factual and legal conclusions – that

    lawyers present at closing arguments. Therefore, Plaintiff’s motion to exclude Mr.

    Warner under Daubert is DENIED.6

          C.     Whether Mr. Oppenheim and Ms. Pardee Should be Excluded

          Plaintiff’s next argument is that Mr. Oppenheim and Ms. Pardee should be

    excluded because neither submitted a signed expert report in violation of Rule 26.

    Plaintiff alleges that only Mr. Davis’ signature appears on the Davis Report even

    though Mr. Oppenheim and Ms. Pardee agree with the opinions included therein.

    Plaintiff states that Mr. Oppenheim provided input to the report and that Ms.

    Pardee inspected the property but that it is entirely unclear which opinion belongs

    to which expert.   Because of the uncertainty on each expert’s opinion, Plaintiff

    concludes that both Mr. Oppenheim and Ms. Pardee should be excluded.

          Federal Rule of Civil Procedure 26(a)(2)(B)(i) provides that a written expert

    report must contain “a complete statement of all opinions the witness will express

    and the basis and reasons for them.” An expert witness has a duty to supplement


    6     Again, Mr. Warner has been struck on other grounds, as per the Court’s
    Order on Plaintiff’s motion to strike.

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    his or her report “in a timely manner if the party learns that in some material

    respect the disclosure or response is incomplete or incorrect, and if the additional or

    corrective information has not otherwise been made known to the other parties

    during the discovery process or in writing.” Fed. R. Civ. P. 26(e)(1)(A). “If a party

    fails to provide information . . . as required by Rule 26(a) or (e), the party is not

    allowed to use that information . . . to supply evidence . . . at a trial, unless the

    failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).

    “Exclusion is also appropriate pursuant to Rule 16(b), which ‘authorizes the district

    court to control and expedite pretrial discovery through a scheduling order’ and

    which gives the court ‘broad discretion to preserve the integrity and purpose of the

    pretrial order,’ including the exclusion of evidence as a means of enforcing the

    pretrial order.” Buxton v. Lil’ Drug Store Prods., Inc., 2007 WL 2254492, at *7 (S.D.

    Miss. Aug. 1, 2007), aff'd, 294 F. App’x 92 (5th Cir. 2008) (quoting Geiserman v.

    MacDonald, 893 F.2d 787, 790 (5th Cir. 1990)).

          When a party fails to comply with Rule 26, the sanction of exclusion is

    automatic and mandatory unless the sanctioned party can show that its violation

    was either justified or harmless. See Fed. R. Civ. P. 37(c)(1); Cooper v. Southern

    Co., 390 F.3d 695, 728 (11th Cir. 2004) (explaining that compliance with Rule 26’s

    expert disclosure requirements is “not merely aspirational”), overruled on other

    grounds, Ash v. Tyson Foods, Inc., 546 U.S. 454, 457 (2006); Mitchell v. Ford Motor

    Co., 318 F. App’x 821, 825 (11th Cir. 2009) (affirming order striking expert for not

    properly disclosing the scientific bases for his expert opinion in a timely



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    manner); United States v. Batchelor-Robjohns, 2015 WL 1761429, at *2 (S.D. Fla.

    June 3, 2005) (granting motion to strike expert’s report and excluding expert from

    testifying and explaining that “Rule 37(c)(1) requires absolute compliance with Rule

    26(a), in that it mandates that a trial court punish a party for discovery violations

    in connection with Rule 26 unless the violation was harmless or substantially

    justified.”) (internal quotations omitted).

          The determination of whether a party’s failure is substantially justified or

    harmless lies within the “broad discretion” of the Court. Abdulla v. Klosinski, 898

    F. Supp. 2d 1348, 1359 (S.D. Ga. 2012).            In determining whether to allow an

    untimely expert report under Rule 37(c)(1), the Court considers: (1) the unfair

    prejudice or surprise of the opposing party, (2) that party’s ability to cure the

    surprise, (3) the likelihood and extent of disruption to the trial, (4) the importance

    of the evidence, and (5) the offering party’s explanation for its failure to timely

    disclose the evidence. See Mobile Shelter Systems USA, Inc. v. Grate Pallet

    Solutions, LLC, 845 F. Supp. 2d 1241, 1250–51 (M.D. Fla. 2012).

          Plaintiff’s argument is now moot – as it concedes in its reply – because

    Rockhill admits that Ms. Pardee and Mr. Oppenheim’s opinions are identical to that

    of Mr. Davis.    That is, Defendant states in its response that the three experts

    should not be permitted to testify differently as to the opinions in the Davis Report

    and that all of their opinions are identical. The facts of this case are therefore

    analogous to a Tenth Circuit decision where a plaintiff complained on appeal of the

    district court’s refusal to strike a joint expert report that the defendant filed. The



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    Tenth Circuit rejected the motion to strike because – even though the experts failed

    to sign the expert report – they were each prepared to testify as to all the opinions

    in the report:

          We see no reason to think the practice always and inherently
          impermissible, as Mr. Barker seems to suppose. Co-authored expert
          reports aren’t exactly uncommon. Here, Mr. Prescott and Mr. Oveson
          reviewed the same materials and, working together, came to the same
          opinions. Because they were both prepared to testify to all the
          opinions in the report, we see no reason why it would be inherently
          impermissible for them to file a joint report. Perhaps the practice
          could prove problematic in other circumstances–if, for example, it isn’t
          clear whether both experts adhere to all of the opinions in the report
          and they do not delineate which opinions belong to which expert–but
          Mr. Barker identifies no reason to fear such confusion here.

    Dale K. Barker Co., P.C. v. Valley Plaza, 541 F. App’x 810, 815 (10th Cir. 2013)

    (citations omitted).

          The same reasoning applies to the facts of this case because the opinions of

    Mr. Davis, Ms. Pardee, and Mr. Oppenheim are identical. This alleviates Plaintiff’s

    concern that the opinions of the experts may differ in some respects and that

    Plaintiff may be blindsided at trial. See Dan v. United States, 2002 WL 34371519,

    at *2–3, *5 (D.N.M. Feb. 6, 2002) (rejecting joint report that included collective and

    individual opinions but didn't identify an individual expert). Therefore, Plaintiff’s

    motion to exclude the opinions of Mr. Davis, Ms. Pardee, and Mr. Oppenheim is

    DENIED as moot.7

          D.     Whether Mr. Millard Should be Excluded


    7    Having denied Plaintiff’s motion for this reason, this Order does not address
    whether the trial court will permit the three experts to testify at trial because
    Defendant has the burden of establishing that the experts’ testimony is not
    cumulative or redundant.

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          Next, Plaintiff argues that the opinions of Mr. Millard should be stricken

    because his expert report includes a “preliminary” estimate for damages:



          This is a [p]reliminary estimate for damages, identified during our
          1/31, 2/28, 3/1 site inspections, related to Hurricane Irma (9/10/2017).
          Some further adjustments may be required with the submission of
          engineering reports, service invoices or repair proposals. Some unit
          pricing within this estimate may have been changed to represent
          actual field/market conditions.

          This estimate is not inclusive of emergency services, structural drying
          or initial cleanup. The estimate is subject to further changes with new
          information/documentation,      updated     investigations,   insurance
          coverage/liomits of coverage or requirements from the local building
          municipality.

    [D.E. 104-1 at 44]. Plaintiff asserts that a preliminary report fails to comply with

    Rule 26(a)(2)(B) because the Federal Rules require a complete statement and do not

    allow a party to file an incomplete preliminary report. Instead, Plaintiff maintains

    that an expert report must be complete so that “opposing counsel is not forced to

    depose an expert in order to avoid ambush at trial; and moreover the report must be

    sufficiently complete so as to shorten or decrease the need for expert depositions

    and thus to conserve resources.” Salgado v. General Motors Corp., 150 F.3d 735,

    742 (7th Cir. 1998) (citing Sylla–Sawdon v. Uniroyal Goodrich Tire Co., 47 F.3d

    277, 284 (8th Cir. 1995)); see also In re Fla. Cement & Concrete Antitrust Litig.,

    2011 WL 13174537, at *3 (S.D. Fla. Nov. 17, 2011) (“Many courts have determined

    that ‘preliminary’ reports do not comply with Rule 26(a)(2)(B).”) (citations omitted).

          Plaintiff’s argument is unpersuasive because, while Mr. Millard provided a

    preliminary estimate of damages, this is not a case where the underlying opinion is


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    subject to change before trial. Mr. Millard merely stated that he considered the

    evidence presented at the time and that if there were changed circumstances going

    forward, this may impact the estimate of damages that were based on his

    observations from a three-day inspection. More importantly, Mr. Millard did not

    submit a preliminary report; it was merely a preliminary estimate of damages –

    meaning there is no concern that Plaintiff will be ambushed at trial. For these

    reasons, Plaintiff’s motion to exclude Mr. Millard is DENIED.

                                  IV. CONCLUSION

          For the foregoing reasons, Plaintiff’s motion to strike and Daubert motion to

    exclude is DENIED.

          DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of

    March, 2019.

                                                 /s/ Edwin G. Torres
                                                 EDWIN G. TORRES
                                                 United States Magistrate Judge




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